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                                          April 20, 2022

Via CM/ECF
Honorable David J. Novak
U. S. District Court, Eastern District of Virginia
Walter E. Hoffman
United States Courthouse
600 Granby Street
Norfolk, VA 23510

       Re:     Campbell, et al. v. Intercontinential Capital Group, Inc.,
               No. 3:22‐cv‐00034‐DJN

Dear Judge Novak:

       I represent the Defendant Intercontinental Capital Group, Inc. (“Defendant”) in the
above referenced action and write jointly with Plaintiffs regarding the status of this matter
and to request this matter be stayed until May 6, 2022.

       On April 19, 2022, the Parties engaged in an in-person mediation with a private
mediator in White Plains, New York. The Parties tentatively agreed upon the terms to settle
this matter. However, the Parties also agree that financial information from the Defendant
is necessary before the settlement can be finalized. Plaintiffs have the option to not move
forward with the settlement after reviewing certain financial information to be produced
by Defendant. Additionally, there is a group of approximately 215 putative plaintiffs (out of
2500) for whom additional information is needed to determine if they may be incorporated
into the settlement. Accordingly, the Parties have agreed upon a term sheet and to allow
Defendant a week to produce for review, the agreed upon financial data and additional
information concerning the aforementioned subset group of putative plaintiffs.

       The Parties are optimistic that they will be able to reach a final settlement shortly
and kindly request that this matter be stayed until May 6, 2022, so that final terms may be
reached and a formal agreement may be executed.
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                                 Very truly yours,




                                 Katharine Thomas Batista
